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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

ERIC DARNELL GALLOWAY,

                       Petitioner,                    Case No. 1:19-cv-174
v.                                                    Honorable Robert J. Jonker
RANDEE REWERTS,

                       Respondent.
____________________________/

                                     ORDER OF TRANSFER

               This is a habeas corpus action filed by a state prisoner under 28 U.S.C. § 2254.

Venue in habeas corpus actions is governed by 28 U.S.C. § 2241. That statute allows a petition to

be filed either in the district where the petitioner is in custody or in the district in which the

petitioner was convicted. 28 U.S.C. § 2241(d). Petitioner Eric Darnell Galloway is incarcerated

with the Michigan Department of Corrections at the Carson City Correctional Facility (DRF) in

Montcalm County, Michigan. Petitioner was convicted in Oakland County. Oakland County is

located in the Eastern District of Michigan; Montcalm County is in the Western District of

Michigan. 28 U.S.C. § 102(a). Venue, therefore, is proper in both districts.

               Petitioner has requested a transfer of venue to the Eastern District of Michigan.

(ECF No. 4.) He reports that it was intention to file in that district, that he captioned his petition

as if he were filing in that district, and that he believed he was filing in that district when he

addressed his petition to the federal court in Lansing, Michigan. Lansing, Michigan, however, is

in the Western District of Michigan.
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               Section 2241(d) permits a petitioner to choose which district to file in. Moreover,

the statute allows “[t]he district court for the district wherein such an application is filed in the

exercise of its discretion and in furtherance of justice [to] transfer the application to the other

district court for hearing and determination.” 28 U.S.C. § 2241(d). The Court concludes it would

further the interests of justice to give effect to Petitioner’s permitted intention to file his habeas

petition in the United States District Court for the Eastern District of Michigan. Accordingly,

               IT IS ORDERED that this case is hereby transferred to the United States District

Court for the Eastern District of Michigan pursuant to 28 U.S.C. § 1406(a).



Dated: March 27, 2019                                         /s/ Ray Kent
                                                              United States Magistrate Judge




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